
34 N.Y.2d 723 (1974)
Richard Weed, as Administrator of The Estate of Henrietta Weed, Deceased, Appellant,
v.
County of Nassau, Respondent.
Court of Appeals of the State of New York.
Submitted March 21, 1974.
Decided May 8, 1974.
Benjamin H. Siff and Thomas R. Newman for appellant.
Joseph Jaspan, County Attorney (Biagio F. Giaquinto and Benedict F. Romano of counsel), for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, RABIN and STEVENS.
Order affirmed, with costs and disbursements to appellant, on the memorandum at the Appellate Division (see Camarella v. East Irondequoit Cent. School Bd., 34 N Y 2d 139).
